908 F.2d 974
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Bernard L. SMITH, Plaintiff-Appellant,v.Dewey SOWDERS, Wayne C. Dunn, Barbara Jones, Kentucky Boardof Medical Licensure, Defendants-Appellees,Dr. Noe, Steve Berry, Defendants.
    No. 90-5004.
    United States Court of Appeals, Sixth Circuit.
    July 30, 1990.
    
      Before KRUPANSKY and BOGGS, Circuit Judges, and CELEBREZZE, Senior Circuit Judge.
    
    ORDER
    
      1
      This matter is before the court upon consideration of the appellees' motion to dismiss the appeal for lack of jurisdiction.  Smith has failed to respond.
    
    
      2
      A review of the record indicates that the district court filed on December 1, 1989, an order dismissing the complaint as to all the defendants except defendants Noe and Berry.  The plaintiff appealed from that order.
    
    
      3
      Absent Fed.R.Civ.P. 54(b) certification, an order disposing of fewer than all the claims or parties involved in the action is not appealable.   Liberty Mut. Ins. Co. v. Wetzel, 424 U.S. 737, 742-45 (1976);  Solomon v. Aetna Life Ins. Co., 782 F.2d 58, 59-60 (6th Cir.1986).  No Rule 54(b) certification was made in the instant case.  The final decision of the district court has not been entered during the pendency of this appeal;  therefore, this court lacks jurisdiction.   See Gillis v. United States Dep't of HHS, 759 F.2d 565, 569 (6th Cir.1985).
    
    
      4
      It is ORDERED that the motion to dismiss be granted and the appeal be, and it hereby is, dismissed for lack of jurisdiction.  Rule 8, Rules of the Sixth Circuit.
    
    